                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF RHODE ISLAND


_______________________________________
                                       )
                                       )
In re: Mortgage Foreclosure Cases      )                           Misc. No. 11-mc-88-M-LDA
                                       )
_______________________________________)



                              RECOMMENDATION OF DISMISSAL
                             FOR FAILURE TO PAY RETAINER FEES


        On November 20, 2013, the Special Master filed an Order directing the following plaintiffs to

comply by paying delinquent retainer fees, in the amounts shown and as previously directed, no later than

December 2, 2013. As of the date of this writing, these delinquencies have not been fully paid.

        The Special Master recommends dismissal of the following cases:


Case No.                                  Case Name                                         Amount Due
CA 12-269       Vasquez-Paez v. Mortgage Electronic Registration Services, Inc. et al           $110
                (For the quarterly retainer due in August, 2013)

CA 12-434       Hoag v. Mortgage Electronic Registration Systems, Inc. et al                      $110
                (For the quarterly retainers due in August, 2013)

CA 12-505       Bloomingburgh et al v. Mortgage Electronic Registration Systems, Inc. et al       $110
                (For the quarterly retainer due in August, 2013)

CA 12-765       Ahmadjian v. HSBC Bank USA, N.A.                                                  $110
                (For the quarterly retainer due in August, 2013)

CA 12-843       Rafael v. Franklin American Mortgage Co. et al                                    $110
                (For the quarterly retainer due in August, 2013)

CA 12-891       Huynh v. Long Beach Mortgage Company, Inc. et al                                  $110
                (For the quarterly retainer due in August, 2013)

CA 12-905       White v. Mortgage Electronic Registration Systems, Inc. et al                     $110
                (For the quarterly retainer due in August, 2013)



                                                                                                         1
Case No.                              Case Name                                      Amount Due
CA 12-925   Medina et al v. Wells Fargo Bank, N.A. et al                                 $110
            (For the quarterly retainer due in August, 2013)

CA 13-022   Gizzarelli v. Federal Home Loan Mortgage Corporation et al.                  $110
            (For the quarterly retainer due in August, 2013)

CA 13-023   Podmaska et al v. Mortgage Electronic Registration Systems, Inc. et al       $110
            (For the quarterly retainer due in August, 2013)

CA 13-039   Duncan v. Wells Fargo Bank, N.A. et al                                       $110
            (For the quarterly retainer due in August, 2013)

CA 13-046   Rosario et al v. JP Morgan Chase Bank, N.A.                                  $110
            (For the quarterly retainer due in August, 2013)

CA 13-049   Marandola et al v. Beneficial Rhode Island Inc. et al                        $250
            (For the quarterly retainers due in April and August, 2013)

CA 13-102   Lanzi et al v. Deustche Bank National Trust Company et al                    $110
            (For the quarterly retainer due in August, 2013)

CA 13-141   Simas v. Mortgage Electronic Registration Systems                            $110
            (For the quarterly retainer due in August, 2013)

CA 13-167   Acevedo v. The Bank of New York Mellon Trust Company, N.A. et al             $110
            (For the quarterly retainer due in August, 2013)

CA 13-189   Pina et al v. Mortgage Electronic Registration Systems et al                 $110
            (For the quarterly retainer due in August, 2013)

CA 13-196   Yeboah v. Federal National Mortgage Association                              $110
            (For the quarterly retainer due in August, 2013)

CA 13-220   O’Neill Jr. et al v. US Bank National Association                            $110
            (For the quarterly retainer due in August, 2013)

CA 13-243   Husband et al v. PNC Bank, NA                                                $110
            (For the quarterly retainer due in August, 2013)

CA 13-272   Andrews v. Wells Fargo Bank, NA et al                                        $110
            (For the quarterly retainer due in August, 2013)

CA 13-277   Voas v. Mortgage Electronic Registrations Systems et al                      $110
            (For the quarterly retainer due in August, 2013)

CA 13-284   Yang et al v. CCO Mortgage Corp. et al                                       $110
            (For the quarterly retainer due in August, 2013)

CA 13-308   Enriquez v. PNC Bank, NA et al                                               $110
            (For the quarterly retainer due in August, 2013)

                                                                                                2
Case No.                              Case Name                                 Amount Due
CA 13-313   Beauchemin et al v. OneWest Bank FSB et al                              $110
            (For the quarterly retainer due in August, 2013)

CA 13-328   Deraimo v. Homework Residential, Inc. et al                             $110
            (For the quarterly retainer due in August, 2013)

CA 13-353   Rodriguez v. Mortgage Electronic Registration Systems, Inc. et al       $110
            (For the quarterly retainer due in August, 2013)

CA 13-370   Fonseca v. Bank of America, NA et al                                    $110
            (For the quarterly retainer due in August, 2013)

CA 13-377   Shurygailo v. Wells Fargo Bank, NA et al                                $110
            (For the quarterly retainer due in August, 2013)

CA 13-384   Medeiros et al v. Federal National Mortgage Association                 $110
            (For the quarterly retainer due in August, 2013)

CA 13-386   Phongsavan et al v. JP Morgan Chase Bank, et al                         $110
            (For the quarterly retainer due in August, 2013)

CA 13-391   Harlan et al v. JP Morgan Chase Bank, NA et al                          $110
            (For the quarterly retainer due in August, 2013)

CA 13-393   Messina v. US Bank, NA et al                                            $110
            (For the quarterly retainer due in August, 2013)

CA 13-394   Ferreira v. US Bank National Association                                $110
            (For the quarterly retainer due in August, 2013)

CA 13-409   Cartier v. Wells Fargo Bank, NA et al                                   $110
            (For the quarterly retainer due in August, 2013)

CA 13-411   Torres v. Cenlar FSB et al                                              $110
            (For the quarterly retainer due in August, 2013)

CA 13-412   Andrade v. Argent Mortgage Company, LLC et al                           $110
            (For the quarterly retainer due in August, 2013)

CA 13-429   Caito v. Citibank                                                       $110
            (For the quarterly retainer due in August, 2013)

CA 13-431   Watkins v. Sand Canyon Corporation et al                                $110
            (For the quarterly retainer due in August, 2013)

CA 13-433   Almstrom v. BNC Mortgage, Inc. et al                                    $110
            (For the quarterly retainer due in August, 2013)

CA 13-464   Delva et al v. Deustche Bank National Trust Company                     $110
            (For the quarterly retainer due in August, 2013)

                                                                                           3
Case No.                                 Case Name                              Amount Due
CA 13-477      Caparco v. Mortgage Electronic Registration Systems Inc. et al       $110
               (For the quarterly retainer due in August, 2013)

CA 13-487      Schacklin v. Pennymac Loan Services, LLC et al                       $110
               (For the quarterly retainer due in August, 2013)

CA 13-494      Tomasek v. Federal National Mortgage Association                     $110
               (For the quarterly retainer due in August, 2013)

CA 13-495      McElroy v. Mortgage Electronic Registration Systems et al            $110
               (For the quarterly retainer due in August, 2013)

CA 13-496      Chamberlain v. Wells Fargo Bank, N.A.                                $110
               (For the quarterly retainer due in August, 2013)

CA 13-509      Stewart v. Plaza Home Mortgage, Inc. et al                           $110
               (For the quarterly retainer due in August, 2013)

CA 13-528      Nguyen v. Bank of America, N.A. et al                                $110
               (For the quarterly retainer due in August, 2013)

CA 13-532      Feole v. Deutsche Bank National Trust Company                        $110
               (For the quarterly retainer due in August, 2013)

CA 13-545      Vu v. OneWest Bank FSB et al                                         $110
               (For the quarterly retainer due in August, 2013)




 /s/ Merrill Sherman                                     12/13/13
Merrill Sherman                                         Date
Special Master




                                                                                           4
